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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT


 UNITED STATES OF AMERICA                         :

                     vs.                          : NO. 3:19-CR-263 (KAD)

 KEVIN MCCORMICK                                  : July 15, 2020


  CONSENT MOTION TO CONTINUE JURY SELECTION AND TO EXTEND RELEVANT
                             DEADLINES

       Counsel for the defendant, Kevin McCormick, hereby moves to continue jury selection and

other Court set deadlines in this matter. In support of this motion, counsel states as follows:

       1. On October 21, 2019, Mr. McCormick was arrested on a complaint charging him with one

           count of attempting to provide material support and resources to a foreign terrorist

           organization in violation of 18 U.S.C. § 2339B. On October 30, 2019, a Grand Jury

           returned an indictment charging the same offense. Mr. McCormick entered a not guilty

           plea on November 4, 2019.

       2. On March 31, 2020, undersigned counsel filed a Motion for Competency Hearing, which

           was granted by this Court on April 1, 2020. See ECF No. 78. On that date, the Court also

           set a deadline for the competency evaluation to be filed by June 1, 2020. Id. After motion

           by the defendant, the deadline was extended to July 14, 2020. See ECF No. 85.

       3. There have continued to be delays in scheduling Mr. McCormick’s evaluation, but after

           working with the Department of Corrections, Dr. Minhas has been able to schedule a

           telehealth conference for July 24, 2020 to conduct the evaluation. Dr. Minhas anticipates

           that he will need at least one, if not two, opportunities to interview Mr. McCormick, and

           subsequently will require time to write his report. Accordingly, counsel respectfully asks

           the Court to extend the deadline for the competency evaluation to August 30, 2020, to
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           account for the time needed to conduct the evaluation and write the report.

       4. Jury selection is presently scheduled for October 6, 2020. Accordingly, counsel also asks

           the Court to postpone jury selection pursuant to 18 U.S.C. § 3161(h)(1)(A), which

           provides that when computing the time within which a trial must commence, the Court

           may exclude any “delay resulting from any proceeding, including any examinations, to

           determine the mental competency or physical capacity of the defendant.”

       5. This request for a continuance also accounts for the Court’s recent order directing that all

           jury trials should be postponed until after November 2, 2020 due to the COVID-19

           pandemic. Accordingly, counsel also seeks to postpone all related deadlines, including

           the Government’s deadline for its motion pursuant to Section 4 of the Classified

           Information Procedures Act (“CIPA”).

       6. Counsel for the Government, Assistant United States Attorney Doug Morabito, consents

           to this request for a continuance.

       WHEREFORE, counsel respectfully requests that the Court extend the deadline for

filing the competency evaluation to August 30, 2020, nunc pro tunc, and that the Court

continue jury selection to a date after November 2, 2020. In addition, counsel respectfully

requests that all relevant deadlines, including the Government’s CIPA motion deadline and

the substantive motions deadlines, be adjusted accordingly.




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                                               Respectfully Submitted,


                                               THE DEFENDANT,
                                               Kevin McCormick

                                               FEDERAL DEFENDER OFFICE


Date: July 15, 2020                            /s/ Allison M. Near
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on July 15, 2020, a copy of the foregoing motion was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent to all parties by operation of the Court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.
Parties may access this filing through the Court’s CM/ECF System.

                                       /s/ Allison M. Near
                                       Allison M. Near




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